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                         EXHIBIT A
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                              Chapter 7

143-30 SANFORD AVE LLC,                                             Case No.: 23-43812-nhl

                           Debtor.
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          ORDER: (I) APPROVING A STIPULATION AMONG THE CHAPTER 7
      TRUSTEE, SANFORD FUNDING LLC AND GERARD A. GEISWELLER, ESQ.;
       (II) AUTHORIZING THE SALE OF THE DEBTOR’S REAL PROPERTY; (II)
          SCHEDULING A PUBLIC AUCTION SALE OF THE DEBTOR’S REAL
         PROPERTY; (IV) APPROVING TERMS AND CONDITIONS OF SALE TO
            GOVERN THE PUBLIC AUCTION SALE OF THE DEBTOR’S REAL
        PROPERTY; (V) APPROVING THE FORM AND MANNER OF NOTICE OF
       THE PUBLIC AUCTION SALE OF THE DEBTOR’S REAL PROPERTY; (VI)
       SCHEDULING A HEARING TO CONFIRM THE RESULTS OF THE PUBLIC
            AUCTION SALE; AND (VII) WAIVING THE 14-DAY STAY PERIOD

        Upon that portion of the motion (“Authorization Motion”) 1 of Lori Lapin Jones, solely in

her capacity as Chapter 7 Trustee (“Trustee”) of the estate of 143-30 Sanford Ave LLC (“Debtor”),

seeking entry of an Order: (i) approving a stipulation among the Trustee, Sanford Funding LLC

and Gerard A. Geisweller, Esq. (“Stipulation”); (ii) authorizing the sale of the Debtor’s real

property and improvements located at 143-30 Sanford Avenue, Flushing, New York 11355

(“Property”); (iii) scheduling a public auction sale of the Property for Thursday, August 8, 2024

at 10:30 a.m. (“Sale”); (iv) approving the proposed Terms and Conditions of Sale to govern the

Sale; (v) approving the form and manner of notice of the Sale; (vi) scheduling a hearing to confirm

the results of the Sale; and (vii) waiving the 14-day stay period; and upon the Order scheduling a

hearing (“Scheduling Order”) for _____________, 2024 at [TIME] (“Hearing”); and upon the

Affidavit of Service evidencing proof of service of the Motion and Scheduling Order; and upon


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        Unless otherwise defined herein, capitalized terms shall have the same meanings ascribed to them in the
        Procedures Motion.



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the record of the Hearing; and no objections having been filed to the Authorization Motion; and

after due deliberation and good cause appearing therefor, it is hereby FOUND AND

DETERMINED THAT: 2

       A.       This Court has jurisdiction over the Authorization Motion and the relief requested

therein pursuant to 28 U.S.C. §§ 157 and 1334. Consideration of the Authorization Motion and the

relief requested therein is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       B.       Good and sufficient notice of the relief sought in the Authorization Motion has been

given and no further notice is required. A reasonable opportunity to object or be heard regarding

the relief requested in the Authorization Motion has been afforded to interested persons and

entities, including: (i) the Debtor; (ii) Sanford Funding LLC (“Lender”), though counsel; (iii)

Gerard A. Geisweller, Esq.; (iv) all parties in interest who have requested notice pursuant to

Bankruptcy Rule 2002; (v) all known creditors of the Debtor; and (vi) known parties who have

asserted a lien or interest in the Property (collectively, “Notice Parties”).

       C.       The Stipulation was negotiated at arm’s-length and in good faith.

       D.       The settlement set forth in the Stipulation falls above the lowest point in the range

of reasonableness.

       E.       The proposed Notice of Sale is good, appropriate, adequate, and sufficient, and

service on the Notice Parties is reasonably calculated to provide all interested parties timely and

proper notice of the Sale, and no other or further notice of the Sale is required.




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       Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings
       of fact, when appropriate. See FED. R. BANKR. P. 7052.


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        F.     The Trustee has articulated good and sufficient reasons for this Court to grant the

relief requested in the Authorization Motion, including this Court’s approval of the Terms and

Conditions of Sale and the form and manner of service of the Notice of Sale.

        G.     The Trustee has articulated good and sufficient reasons for, and the best interests

of the Debtor’s estate will be served by, this Court scheduling a Sale Approval Hearing to consider

whether to grant the remainder of the relief requested in the Authorization Motion.

NOW THEREFORE, IT IS HEREBY ORDERED THAT:

        1.     The Stipulation, a copy of which is annexed hereto as Exhibit A, is approved in its

entirety.

        2.     The Trustee is authorized to sell the Property in accordance with the Stipulation.

        3.     The Terms and Conditions of Sale, substantially in the form annexed to the

Authorization Motion as Exhibit C, are hereby approved.

        4.     The Sale of the Property will be conducted by Zoom (or other virtual platform) on

Tuesday, June 25, 2024 at 10:30 a.m. (Eastern), or such other later date or time as the Trustee

deems appropriate.

        5.     The Highest Bidder or, as applicable, the Second Highest Bidder (other than the

Lender) shall be solely responsible to pay the commissions of the Trustee’s retained broker, MYC

& Associates, Inc., the amount of four (4%) percent of the amount bid by the Highest Bidder or,

as applicable, the Second Highest Bidder at the Sale.

        6.     The Trustee is authorized to take any and all actions necessary or appropriate to

implement the Sale.




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       7.       All objections to entry of this Order or to the relief provided herein and requested

in the Authorization Motion that have not been withdrawn, waived, resolved, or settled are hereby

denied and overruled in their entirety.

                                 SALE APPROVAL HEARING

       8.       The Sale Approval Hearing shall be held before this Court on June 27, 2024 at

10:30 a.m.

       9.       The Sale Approval Hearing may be adjourned by the Trustee by filing a notice with

this Court and serving such notice on the Notice Parties.

                                             NOTICE

       10.      The Notice of Sale, substantially in the form annexed to the Authorization Motion

as Exhibit D, is hereby approved.

       11.      The Trustee shall cause notice of the Sale to be published at least once in an

appropriate publication pursuant to Bankruptcy Rule 2002(l).

       12.      The notice as set forth in the preceding paragraphs shall provide good and sufficient

notice of the Sale and the Sale Approval Hearing and no other or further notice of the Sale or the

Sale Approval Hearing shall be necessary or required.

                                  ADDITIONAL PROVISIONS

       13.      Notwithstanding Bankruptcy Rule 6004(h), this Order shall not be stayed for

fourteen (14) days after the entry hereof and shall be effective and enforceable immediately upon

entry hereof.

       14.      The Trustee is authorized and empowered to take such steps, incur and pay such

costs and expenses, and do such things as may be reasonably necessary to fulfill the requirements

established by this Order.




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       15.     This Court shall retain jurisdiction over any matter or dispute arising from or

relating to the implementation of this Order.




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